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UNITED STATES DISTRICT COURT
SOUTHBRN DISTRICT OF NEW YORK

 ..................-................-.............---.. -.................................... _....................... ~-.. X

  UNITED STATES OF AMERICA,


                  -v-
                                                                                                                                S2 17 Cr. 548 (PAC)
 JOSHUA ADAM SCHULTE,
                                                                                                                                P.R EWl01PXCVFC Y
                                                      D~fendant.                                                                €A. •N&t..FJUs J'i,.l!Rff.t [fj'
                                                                                                                                "'" ,s.1·1mc .:,;;rgM uvu,w

                                                                                                                                OPINION & ORDER


HONORABLE PAUL A. CROTTY, United States District Judge:

               Defendant Joshua Schulte ("Defendant" or "Schulte'') is charged in a fiitcon-count

superseding indictment with/ inter alia, (1) three counts of violating 18 U,S.C. § 793, for theft of

classified information from the Central Intelligence Agency ("CIA.,) and transmission of that

information to Wikil.eaks (Counts One through Three); (2) another count of violating§ 793, for

unlawful disclosure and _attempted disclosure of classified information from the MCC (Count

Four); (3) four counts of violating IR U.S.C. §§ 641 and 1030, for unauthorized accessing of CIA

computer systems and thel\ of classified information (Counts Five through Eight); (4) two counts

of violating 18 U.S.C. §§ 1001 and 1503, for false statements made to the FBI during its

investigation (Counts Nine and Ten); and (5) one count of violating 18 U.S.C. § 401(3), for

violating the protective order (Count Eleven).

              The Government moves for partial closure of the courtroom during the testimony of

certain CIA witnesses who arc expected to testify at trial and for additional witness security

measures aimed at protecting these individuals' identities from public disclosure. (See Dkts.


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199, 263.) The motion is granted,

                                               BACKGROUND
I.       Relevant Factual Allcgations 1

         Defendant Joshua Schulte, a former CIA employee, has been indicted fot· stealing

national defense information and transmitting it to Wikileaks, At the CIA, Schulte worked

within the Center for Cyber Intelligence ("CCI"), Engineering Development Group ("EOG"),

His responsibilities included developing classified cyber tools, including tools that were designed

to, among other things, covertly ex filtrate data from computers, While at the CIA, Schulte was a

systems administrator of DEVLAN, the computer network used hy EOG, DEVLAN included a

suite of software known as Atlassian, which included programs: Confluence (EDG's Wikipedia-

like page in which users could comment on work), Stash (the repository for, among other things,

source code), Jira, Bamboo, and Crowd,

         Beginning in the summer of 2015, Schulte began having significant problems at the CIA

arising out of certain management actions and a foud with another EDG employee ("Employee-

!"). The problems escalated in the fall of 2015 when Employee- I emailed his Branch Supervisor

complaining about Schulte's behavior at the CIA. Later that day, Schulte sent an email to the

Branch Supervisor claiming that Employee- I was abusive towards others in the workplace, and

that Employee- I had made a death threat against Schulte,

        For Schulte, problems at the CIA workplace continued into 2016. He disagreed with

actions taken by Cf A management, such as the decision to enlist a contractor to build a tool that

was similar to one Schulte was attempting to develop, Schulte raised concerns ahout the



1
 The following factual allegations come from the Government's Motion in //mine. (Dkt. 195.) The facts set forth
focus on Schulte's dealing with, Inter alia, ce11ain protected witnesses.


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contractor potentially jeopardizing other tools and operations,

        At the same time, Schulte's interpersonal issues with F.rnployee-1 further deteriornted.

Schulte complained to CCI security about the incidents with Employee- I, Eventually on March

23, 2016, Schulte sought a protective order against Employee-! in state court. As a result of the

feud, Schulte and Employee- I were reassigned to new branches within EDG to separate them,

Schulte complained that C[A management was retaliating against him because he had made a

security complaint against Employee-I.

       In April 2016, after changing brunches, Schulte's administrative privileges to two

projects overseen by the previous branch, Project- I and Project-2, were revoked, Schulle

confronted a server administrator ("Server Administrator-I") about Schulte's administrative

privileges to Project- I. Server Administrator-I informed Schulte that because Schulte had been

moved to a different branch, Schulte no longer needed administrative privileges, Schulte

disagreed, and claimed he was still supposed to work on projects that he had worked on in his

prior branch and should have administrative privileges.

       Schulte then falsely told Server Administrnlor-1 that the Rranch Supervisor had approved

reinstating Schulte's administrative privileges for Project-I. Server Administrator-! reported

that he would discuss Schulte's privileges with the Branch Supervisor. Unbeknownst to anyone

in EDG, however, Schulte reinstated his own administrative privileges. Schulte's actions caused

significant concern within CCl because they violated ClA policy and called into question

whether Schulte could he trusted with classified information.

       Following Schulte's reinstaternent of his own privileges, CCI management tasked Server

Administrator-I and two other server administrators ("Server Administrator-2" and "Server

Administrator-3 ") with removing all of Schulte 's administrative privileges to DEVLAN, As part



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of their work, the Server Administrators changed the administrator passwords and removed

administrative secure shell ("SSH") keys, which were a method that administrators used to

access DEVLAN. In the process of deleting these keys, the Server Administrators inadvertently

missed a key that Schulte possessed, which allowed Schulte to continue to access DEVLAN as

an administrator and specifically, to access the Atlassian suite programs.

       Schulte met with his Division Supervisor ahout reinstating his own administrative rights

and he received a memo warning that stated "do not attempt to restore or provide yourself with

administrative rights lo any project and/or system for which they have been removed." Schulte

signed the memo, acknowledging he understood its prohibitions, Immediately following this

meeting with the Division Supervisor, Schulte began attempting lo access various parts of

DEVLAN as a system administrator, despite knowing he was prohibited from doing so, Schulte

was able to access the DEVLAN system using the specific secure key that was inadvertently not

deleted, Nevertheless, Schulte emailed his Division Supervisor and confirmed that all of his

private keys with access had been destroyed or revoked,

       On April 20, 2016, Schulte used this key lo access DEVLAN without permission and

steal repositories of CIA cybcr tools and source code. Schulte subsequently transferred the

information to Wikileaks. Schulte resigned from the CIA in November 2016.

       On March 7, 20 I 7, Wikileaks puhlished the lirst installment in a series of leaks

containing information from the CIA's system ("Vault 7 Leaks"), The leaks disclosed by

Wikileaks contained information from Confluence and Stash, two programs housed on

DEVLAN. The Vault 7 Leaks are the largest illegal disclosure of CIA information in the

agency's history and have caused catastrophic damage lo national security, The information

published includes, inter a/ia, information about EDG loo ls that had been stored in Stash and



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     information from Confluence, The leaks were accompanied by a press release, in which

     Wikileaks claimed that the information had been given to Wikileaks by "a source who wished to

     raise policy questions that need to be debated in public, including whether the CIA's hacking

    capabilities exceeded its mandate powers and the problem of public oversight of the agency,"

    The press release indicated that the source wanted to •'initiate a public debate about the security,

    creation, use, proliferation, and democratic control of cyberweapons."

     II.      Procedural Background

(S//NF)       On November 26, 2019, the Goverrunent filed an in camera classified motion for witness

     protection measures pursuant to Section 6 of the Classified Information Procedures Act

    concerning witnesses from the CIA that will testify at trial. The motion was supported by an

    affidavit from the CIA

                                                                          ,. The Government filed a letter

    publicly the same day stating that it had filed a motion seeking limited courtroom closure for

    certain CIA witnesses. (See Gov. Nov. 26, 2019 Letter, Dkt. 199.)

              The Government seeks an order imposing protective measures aimed at preventing

    disclosure of the identities of certain CIA employees expected to testify at trial. The

    Government seeks different witness protection measures for different employees, 2 The

    Government is seeking partial closure of the courtroom for ten witnesses (together "Protected

    Witnesses"). (See Gov. Classified Witness Protection Mot., Nov. 26, 2019; Gov. Jan, 23, 2020

    Letter, Dkt. 263.) Spccitically, the Government seeks:

              (I) Limited courtroom closure during protected witnesses' testimony, with only the
                  parties, the jury, the defendant's family, and one pool reporter permitted in the

    2 The Government represents that the Depat'tment of Justice and CIA have made determinations to carefully
    dislinguish the different proteclions each category ol'witnesscs should receive. See Gov, Classified Witness
    Protection Mot., -        Dec. 1 55.


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                         courtroom. During this pattial closure of the courtroom (I) a live feed of the
                         testimony would be brnadcast simultaneously to an adjoining courtroom, and (2)
                         transcripts of the testimony to be released publicly as soon as feasible, which would
                         typically be on the evening after the day oftestimony. 3

                    (2) Protected witnesses to use a non-public entrance to enter and exit the courtroom

                    (3) Certain CIA employees to testify under pseudonyms4

                     (4) Prohibition on sketching or other recording of their faces, and pixilation of any
                         publicly released images of their faces

                     (5) Precluding cross-examination that would reveal aspects of the witnesses' true
                         identities

                     In seeking closure, the Government filed supporting declarations




                                                                  . Certain employees are covert meaning their

          identities are classified. Other overt employees, whose affiliation with the CIA is not itself

          classified, may be classified when associatecl with specific intelligence activities -




                     On December 6, 2019, Schulte filed a classified opposition to this motion.


(S//NF)   ) According to the Government's Classified Lcttel' dated Janua1y 17 1 2020 1 pai1ia1 closure oflhc courtroom would
          apply to th!! following Government witnesses:
          •  Michocl   •    Amo •                         ••••••••••••••••                                       David•
                                    and Matthew 1- The Government reprosents that should the defense call the following
                                                                                                                          Sean

          witnesses they would also he subject to partial closure of the courtroom: •••••             I Jack I, Elizabeth   •
          Christopher  •,    Duan. Tan deep I

(Si/NF)   4   According to the Government's Classified Letter dated January I7, 2020, the following witnesses will testify under
          pseudony1ns:   •••••••••••••••                                    I   The Government represents that should the
          defense call the followlng witnesses they would also te.1,tify via pseudunym:


                                                                     6
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III.     Public Hearing on January 27, 2020

         The Court held a public hearing on the Government's motion. See United Stales v.

Alcantara, 396 F.3d 189 (2d Cir. 2005). Four members of the press objected to the partial

closure of the courtroom. 5 The press members represented that courthouse reporters could be

trusted not to disclose the testifying witnesses' physical characteristics (e.g., height, build, eye

color, etc.) and that they would not jeopardize the safety of witnesses in reporting on the trial.

The press members also proposed alternative methods and modifications, including, among

others, a live feed to the courthouse pressroom in addition to an overflow courtroom and that two

pool reporters be permitted to attend the testimony of Protected Witnesses. Press members also

emphasized the importance of prompt access to trial transcripts.

         The Court asked the Government about the requests from the press. The Government did

not oppose the request that two pool reporters be permitted to attend the testimony of Protected

Witnesses or the request for a live feed to be transmitted to the courthouse pressroom. The Court

asked the Government about the possibility of a video feed that would display the courtroom, but

not the Protected Witnesses, instead of an audio feed. The Government did not oppose this

alternative.

         Finally, the Court asked the Government to estimate the length of testimony for Protected

Witnesses. The Government estimates that the testimony requiring partial closure of the

courtroom would be approximately one-third of the trial. The Court confirmed that the

Government would seek to impose similar measures for similarly situated CIA witness that are

called by the defense.



'The following members of the press spoke at the public hearing: Steven Brown, New York Daily News; Emily
Saul, New York Post; Matthew Russell Lee, lnnel' City Press: and Lairy Neumeister, Associated Press.


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                                           DISCUSSION

I.     Limited Courtroom Closure

       A.    Legal Standard

       The First and Sixth Amendment generally require that criminal proceedings be open to

the public and press. Waller v. Georgia, 467 U.S. 39, 44 ( 1984); United States v. Smith, 426

F.3d 567, 574-75 (2d Cir. 2005). Nevertheless, courts have made clear that the right to open

trial "may give way in ce1iain cases to other rights or interests such as the defendant's right to a

fair trial or the government's interest in inhibiting disclosure of sensitive information." Waller,

467 U.S. at 45. Given the presumption of openness, "proceedings cannot be closed unless

specific, on the record findings are made demonstrating that 'closure is essential to preserve

higher values and is narrowly tailored to serve that interest.'" Id. (quoting Press-Enterprise

!, 464 U.S. 501, 510 ( 1984)). Under Waller, a courtroom closure is justified if: ( t) closing the

hearing would advance an overriding interest that is likely to be prejudiced; (2) the closure is no

broader than necessary to protect that interest; (3) the trial court considers reasonable alternatives

to closing the proceeding; and (4) the trial court makes findings adequate to support the

closure. Id. at 48.

       The Second Circuit has recognized that the qualified right of public access may yield to,

among other things, the need to protect the safety of witnesses and to avoid "the danger of

impairing law enforcement." Carson v. Fischer, 421 F.3d 83, 89 (2d Cir. 2005); United States v.

Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995). See Brown v. Artuz, 283 F.3d 492,501 (2d Cir.

2002) (holding "safety" of undercover officer constituted an "overriding interest" under Waller);

Nieb/as v. Smith, 204 F.3d 29, 33 (2d Cir. 1999) (same); Ayala v. Speckard, 131 F.3d 62, 72 (2d

Cir. 1997) ("The gravity of the state interest in protecting the secrecy of the officer's identity



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from casual observers and the likelihood that this interest will be prejudiced by the officer's

testifying in open court arc both sufficiently substantial to justify the limited closure of the

courtroom during the officer's testimony.").

       n,    Application to Proposed Partial Closure

       The Court determines that the four Waller factors have been satisfied. The instant case--

in this Court's view-is largely unprecedented in terms of the amount of sensitive classified

information stolen, and the number of CIA officers who are key witnesses to the alleged criminal

conduct, which occurred at the CIA. As the Government notes, the Leak at issue is "the largest

illegal disclosure of CIA information in the agency's history." (Gov. Mot. in /imine at 18, 0kt,

195.) See Waller, 467 U.S. at 46 (noting that the circumstances overcoming openness will be

"rare" and that "the balance of interests must be struck with special care,").

       The "overriding interest" in closure advanced by the Government is to protect the

identities and safety of CIA officers, and to protect foreign intelligence collection that is vital to

national security. See Haig v. Agee, 45:l U.S, 280, 307 (198 l) (explaining that "[m]casures to

protect the secrecy of our Government's foreign intelligence operations plainly serve" national

security interests); United Sia/es v. Slerling, 724 F.:ld 482, 516 (4th Cir.2013) ("The identity of

CIA operatives is, and always has been, subject to rigorous protection."), As with undercover

officers, "[t]here can be no doubt that the identity of CIA operatives is sensitive information."

Slerling, 724 F.Jd at 516.




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                                                          The Government has a compelling interest in

protecting secrecy of [identities and] information impottant to our national security and the

appearance of confidentiality so essential to the effective operation of our foreign intelligence

service." Snepp v. United States, 444 U.S. 507, 5 IO n.3 (l 980).

        Next, the partial courtroom closure sought by the Government for the Protected

Witnesses is "no broader than necessary." See Waller, 467 U.S. at 48 (discussing the second

factor). In analyzing the extent of infringement, courts consider the testimony to be rendered

during closure, the duration of the anticipated closure, the availability of transcripts, and the

relationship of those excluded to the objecting defendant. See Bobb v. Senkowski, 196 F.3d 350,

353 (2d Cir. 1999). The Court is mindful that the length of the Government's proposed closure

is not insubstantial (approximately one-third of the trial), but the Government's interest-



                                             ·•--is especially grave and its serious interest will be

advanced by closure. 6 See United States v. Alimehmeti, 284 F. Supp. 3d 477,488 (S.D.N.Y.

2018) (granting request for partial closure of the courtroom in ten-orism prosecution during

testimony of four undercover Fl3! employees, which comprised approximately one-third of the




         Every major nation in the world has an intelligence service. Whalever fairly may be said about some of its
         past activities, the CIA,,, is an agency thought by evel'y President since Franklin D. Roosevelt to be
         essential to the security of the U11ited States and---in a sense•• -the free world. It is impossible for a
         government wisely to make critical decisions about foreign policy and national defense without the benefit
         of dependable foreign intelligence.

Snepp v. Uniled S1a1es, 444 U.S. at 5 n.7.




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trial and permitting the undercover officers to testify using pseudonyms), Further, the

Government proposes other measures to assure immediate public access to the testimony

notwithstanding the partial closure. The Government proposed a live feed to a different

coui1room within the courthouse during the period of partial closure, The Government also

proposed that one pool reporter would be permitted in the courtroom during the partial closure,

Lastly, the Government will make the transcripts accessible to the public as soon as feasible,

which would typically be no later than the evening after the day of testimony, The Court adopts

these recommendations and further ameliorative measures, which will reduce any undue burden

arising out of these protective measures,

       The Court directs that the following measures be implemented, First, the live feed will

be a video feed (not simply an audio feed); the feed will not show the Protected Witnesses, The

Court will permit this live stream to be transmitted directly to the District's pressroom in

addition to the broadcast to an adjoining courtroom, Finally, the Court will permit two

representatives from the District's press pool to he present For each Protected Witnesses'

testimony to assure access to visual observations (e.g., of witness demeanor) that only a person

in the courtroom can make, With these modifications, the closure is narrowly tailored. The

public and press will be able to view most of the trial in the courtroom and hear all of the

testimony contemporaneously as it occurs. The closure is as limited as can be given the need to

protect the identity and safety of certain CIA witnesses.

       The third factor, identified by the Supreme Court in Waller, requires that the Court

consider reasonable alternatives to closing the prncceding during the Protected Witnesses'

testimony. Schulte's opposition does not offer alternatives, Nevertheless, the Court has

considered, sua .1ponte, other options, such as disguising the witnesses or placing a screen



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          between the witness and the courtroom observers. Such methods have been disfavored by courts

          in this Circuit. See e.g., Uniled States v. Urena, 8 F. Supp. 3d 568,572 (S.D.N.Y. 2014). As the

          Second Circuit has recognized, "disguising the witness risks lessening the jury's opportunity to

          observe the witness's demeanor and assess credibility, and a screen risks implying to the jury

          that the family or friends of the defendant in attendance are likely to be dangerous." Ayala, 131

          F.3d at 71-72. By contrast, the proposed partial courtroom closure does not impede the jury's

          ability to assess witnesses' credibility, nor convey to the jury any risk of danger. The Court finds

          that the Government's proposal is the best option while limiting, to the extent possible, any

          infringement on the defendant's right to an open trial. For the same reasons, the Court grants the

          Government's request to prohibit sketching or other recording of CIA witnesses' faces, and

          pixilation ofauy publicly released image.I of the CIA witnesses' faces.

    (Si/NF)       Finally, the Government has made specific representations to the Court detailing the need

          to protect the safety and efficacy of the Protected Witnesses, none of which have been

          challenged.




(S//NF)   7The Government submitted in camera a declaration from
          witness protection. See Oov, Classified Witness Protection Mot., -       Dec,




                         The Court finds the specific representations are credible and adequ~te to support partial courtroom
          closure and other proposed security measures (e.g. 1 testifying using pseudonyms or by first name only),


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-             The Court finds that these specific representations are credible and sufficient lo

support pa1tial closure of the comtroom during the testimony of the Protected Witnesses.

         Accordingly, the Court grants the Government's motion for partial closure of the

courtroom <luring the testimony of the Protected Witnesses.

II.      Other Proposed Security Measures

         A.    Cross-examination of Protected Witnesses & Pseudonyms

         The Confrontation Clause of the Sixth Amendment guarantees a criminal defendant the

right to cross-examine adverse witnesses. See Smilh v, Illinois, 390 U.S. 129, 129-31 (l 968),

That right, however, is not absolute. "[T]he Confrontation Clause guarantees only

an opportunity for effective cross-examination, not cross-examination that is effective in

whatever way, and to whatever extent, the defense might wish." United State,,· v. Owens, 484

lJ.S. 554, 559 (1988) (quoting Kentucky     1•.   Stincer, 482 U.S. 730, 739 (I 987)) (alteration in

original) (emphasis in original). "[T]rial judges retain wide latitude insofar as the Confrontation

Clause is concerned to impose reasonable limits on such crnss-examination based on concerns

about, among othe1· things, harassment, prejudice, confusion of the issues, the witness' safety, or

interrogation that is repetitive or only marginally relevant." United States v. Crowley, 318 F.3d



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           401, 417 (2d Cir. 2003) (quoting Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986)) (alteration

           in original)).

                    The GQVetument seeks leave for c;ertaln PrQl/!cted Witn= to testify under 11seudanym

           and an order precluding cross-examination that would reveal aspects of the witnesses' true

           identities. The Court approves the use of pseudonyms to protect the safety and efficacy of the

           PrQtected Witnesse,~. The defendant is, Qf C\llltse, aware Qf the witnesses' trne names. As set

           forth in the Court's Section 6(c) order, the covert protected witnesses will testify via

           pseudonym. 8 The overt protected witnesses will testify by true first name only. 9 Permitting

           certain witnesses lQ testify using a pseud.:mym and certain witn= lQ testify by first rumte only

           protects the safety and efficacy of the CIA officers. Additionally, the Defendant does not oppose

           the Government's request to preclude cross-examination that would reveal aspects of the

           witnesses' true identities; nor does the Defendant suggest that the personal identifying

           information is relevant. 10 The Court adopts these restrictions. See e.g., United States v,

           Hernandez, No. SI 12 CR 809 PKC, 2013 WL 3936185, at •3 (S.D.N.Y. July 29, 2013);

           Alimehmeti, 284 F. Supp. 3d at 490.




 (SI/NF)   8 For clarity, the Court lists those employees here, as per the Government's Classified Letter of January 17, 2020,
           which the Court adopts. The following Government witnesses wlll testify under pseudonyms:
                                                  The Government represents that should defense call the following witnesses they
           would also testify via pseudonym:  ••••-                    As per the Section 6(c) order, If other covert employees, not
           listed here, are called to testify they will testify with a pseudonym.

(SI/NF)    9 For clarity, the Court lists those employees here, as per the Government's Classified Letter of January 17, 2020,
           which the Court adopts. The following Government witnesses will testify by true first name only: David , Sean
             , Michael , Amo! , Matthew , Timothy , Bonnie , Michael , Karen . The Government represents
           that should defense call the following witnesses they would also testify by true first name only: Jack , Elizabeth
              1
                Christopher I Duane ., Tandeep ,, Rufus , Thomas ., Marcus , Gordon ., Stephen .

           "For the same reasons, the defendant Is prohibited from disclosing the true names or personal identifying
           lnfonnation of the Protected Witnesses' during his own testimony should he testify.


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             B.     Entering and Rxiting

            The CIA witnesses (including witnesses called by the defense) will be permitted to use

 the nonpublic entrances and exits in the building, including by entering court via a nonpublic

entrance. 11 Absent court authorization, there would be a substantial risk that a testifying CIA

witness would be observed by members of the public, undermining the efficacy and purpose of

 the abovementioned security measures and partial closure of the courtroom. See Alimehmeti,

284 F. Supp. 3d al 495.

                                                        CONCLUSION

            For the foregoing reasons, the Government's motion is GRANTED. The courtroom will

be closed during the Protected Witnesses' testimony, with the exception of essential courtroom

personnel, the parties, the defendant's family, and two pool reporters. There will be a video feed

(that will not show the protected witnesses) transmitted to an adjoining courtroom and the

courthouse pressroom. The Government is directed to make transcripts and exhibits available to

the public no later than the evening after the day of testimony.

             The Court prohibits sketching or other recording of CIA witnesses faces, and permits

pixilation of any publicly released images of their faces. The defense may not inquire in open

court about the Protected Witnesses' true names or topics that would reveal the witnesses'

identities.


     Dated: New York, New York                                     SO ORDERED
            .Tanuary Jj_, 2020                                             ')
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                                                                          ,"   /~iv( , .} (~/.(,   trf
                                                                   PAUL A. CROTTY
                                                                   United States District Judge


11   This includes all CIA witnes.'ieS not just the '1 Prntected Witnesses. 11


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